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 State of New Jersey, Palisades Interstate Parkway Commission,
 Palisades Interstate Parkway Police Department, PIPPD P.O.
 Matthew Levine, Badge No. 366; PIPPD Sergeant Gregory D.
 Kimbro Jr, Badge No. 368; PIPPD P.O Timothy Conboy,
 Badge No.393l PIPPD P.O Peter Wojcik, Badge No. 406;
 and PIPPD P.P. Scott Bilotti, Badge No. 413.

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                      UNITED STATES DISTICT COURT
                        DISTRICT OF NEW JERSEY
                           NEWARK VICINAGE

ALEXANDER SHAPOROV,                               Hon. Evelyn Padin, U.S.D.J.
                                                 Hon. Leda D. Wettre, U.S.M.J.
   Plaintiff,
                                                        Civil Action No.
      v.                                            2:22-CV-01150-EP-LDW

STATE OF NEW JERSEY, et al.,                CONSENT ORDER PERMITTING
                                            RELEASE   AND    USE     OF
   Defendants.                              INFORMATION CONTAINED IN
                                            SEALED   AND    EXPUNGED
                                            RECORDS PURSUANT TO N.J.S.A.
                                            2C:52-19

       THIS MATTER having come before the Court on application by the parties,

 Plaintiff Alexander Shaporov represented by William Igbokwe, Esq. and Matthew J.
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 Platkin, Acting Attorney General of New Jersey, Thomas Sindel, Deputy Attorney

 General, appearing on behalf of Defendants State Of New Jersey, Palisades Interstate

 Parkway Commission, Palisades Interstate Parkway Police Department, PIPPD P.O.

 Matthew Levine, Badge No. 366; PIPPD Sergeant Gregory D. Kimbro Jr, Badge No.

 368; PIPPD P.O Timothy Conboy, Badge No.393l PIPPD P.O Peter Wojcik, Badge

 No. 406; PIPPD P.P. Scott Bilotti, Badge No. 413 (collectively, “State Defendants”),

 for the entry of an Order permitting release and use of information in sealed and

 expunged records pursuant to N.J.S.A. 2C:52-19, and for good cause shown:

        IT IS ON THIS _______
                       19th   DAY OF _________________,
                                        December        2023:

        1.      ORDERED and ADJUDGED that the information contained in sealed

 and expunged records relating to Complaint No. 0288-S-2020-000056, Ticket No.

 0288-E20-003339, and Ticket No. 0288-E20-003340 pursuant to N.J.S.A. 2C:52-19 be

 released for use in the litigation concerning Civil Action No. 2:22-CV-01150-EP-LDW;

        2.      IT IS FURTHER ORDERED AND ADJUDGED that the information

 and records sealed and expunged may be inspected, disclosed along with the

 information contained therein, by and between the parties in conjunction with any and

 all discovery devices authorized in the civil action now pending and being litigated by

 the parties;

        3.      IT IS FURTHER ORDERED and ADJUDGED that the named parties

 as well as their counsel, along with any and all experts employed thereby, shall likewise

 be permitted inspection of the files and records or release of the information contained
                                            2
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 therein and which were the subject of the Expungement Order, including filing of

 charges, return of indictment, testimony and transcripts of defendants before the

 grandy jury, as well as any and all other information related to and discovered in the

 course of the underlying criminal action, Complaint No. 0288-S-2020-000056, and

 underlying traffic infractions, Ticket No. 0288-E20-003339 and Ticket No. 0288-E20-

 003340.

        IT IS SO ORDERED.


  Dated: 12/19/2023
                                         HON. LEDA DUNN WETTRE, U.S.M.J.


  IGBOKWE, PLLC d/b/a LAW                MATTHEW J. PLATKIN
  OFFICE OF WILLIAM                      ATTORNEY GENERAL OF NEW
  IGBOKWE                                JERSEY

  __________________________             __________________________
  William Igbokwe, Esq.                  BY: Thomas Sindel, DAG
  Attorney for Plaintiff                     Attorney for State Defendants


  THE MAGLIONE FIRM, PC

   /s/ Dean Maglione
  __________________________
  Dean Maglione, Esq.
  Attorney for Plaintiff




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